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 4
                                UNITED STATES DISTRICT COURT
 5
                                        DISTRICT OF NEVADA
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 7   NO TAN LINES REPUBLIK,
                                                             Case No. 2:24-cv-00870-GMN-NJK
 8           Plaintiff(s),
                                                                              Order
 9   v.
                                                                      [Docket Nos. 10, 11]
10   JIM ANDERSON, et al.,
11           Defendant(s).
12         Pending before the Court are two letters filed with the Court by Corinne and Max Dufloo.
13 Docket Nos. 10, 11.
14         As an initial matter, the filers are advised that they are not permitted to file letters with the
15 Court; requests must be made in the form of a stipulation or motion, and must be formatted in
16 appropriate fashion. See, e.g., Local Rule IA 10-2. The Court will consider these filings as a one-
17 time courtesy, but future filings must be made properly.
18         The Court construes the filings as seeking an extension to the deadline for No Tan Lines
19 Republik to retain counsel. See Docket No. 10 at 1-2; see also Docket No. 6. Plaintiff No Tan
20 Lines Republik is ORDERED to retain a licensed attorney and have that attorney file a notice of
21 appearance by July 15, 2024. Failure to comply with this deadline may result in dismissal of
22 Plaintiff No Tan Lines Republik.
23         Although not entirely clear, the letters also appear to seek to add Corinne and Max Dufloo
24 as Plaintiffs, or perhaps substitute them as plaintiffs in the place of Plaintiff No Tan Lines
25 Republik. See Docket No. 10 at 1. If such relief is being sought, then a request clearly so indicating
26 must be filed, along with the filing of an amended complaint as appropriate. See Fed. R. Civ. P.
27 15(a)(1) (an amended complaint may be filed once as a matter of course before any defendant
28 appears).

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 1   If these letters seek any other relief, they are DENIED without prejudice as to that relief.
 2   IT IS SO ORDERED.
 3   Dated: June 21, 2024
 4                                                         ______________________________
                                                           Nancy J. Koppe
 5                                                         United States Magistrate Judge
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